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                                      Additional information
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                                     objections of third parties
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